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 1
 2                         IN THE UNITED STATES DISTRICT COURT
 3                               FOR THE DISTRICT OF ARIZONA
 4
     Oro Valley Hospital, L.L.C.,            )       No. CV 10-654-TUC-AWT
 5                                           )
               Plaintiff,                    )       ORDER DISMISSING THIRD-PARTY
 6                                           )       DEFENDANT CONWAY TILE CO.,
     vs.                                     )       INC.
 7                                           )
     Bovis Lend Lease, Inc., and             )
 8   Gould Turner Group, P.C.,               )
                                             )
 9             Defendants.                   )
                                             )
10                                           )
     Bovis Lend Lease, Inc.,                 )
11                                           )
               Third-Party Plaintiff,        )
12                                           )
     vs.                                     )
13                                           )
     ABG Caulking Contractors, Inc.; et al., )
14                                           )
               Third-Party Defendants.       )
15                                           )
                                             )
16                                           )
     Conway Title Co., Inc.,                 )
17                                           )
               Fourth Party Complainants )
18   vs.                                     )
                                             )
19   Noble Company; and Dal-Tile Services, )
     Inc.                                    )
20                                           )
                                             )
21                                           )
                                             )
22                                           )
                                             )
23                                           )
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25
           Pursuant to the Stipulation for Dismissal as to Third-Party Defendant, Conway Tile Co.,
26
     Inc., and for good cause appearing,
27
           IT IS ORDERED that any and all third-party claims against Third-Party Defendant
28
      Case 4:10-cv-00654-AWT Document 155 Filed 12/20/13 Page 2 of 2



 1
     Conway Tile Co., Inc., are hereby dismissed with prejudice.
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          DATED this 19th day of December, 2013.
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